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VIA- ECF                                                              E-mail: jo@woc4equaljustice.org


November 22, 2024

Honorable Eric Komitee
United States District Court,
Eastern District of New York
225 Cadman Plaza East, Courtroom 6G North
Brooklyn, New York 11201

      RE:    PARTY NAME CORRECTION IN DOCKET
             Women of Color for Equal Just ic e et al. v. New York, et. al Civil
             Action No: 22-cv-02234

Dear Judge Komitee and/or Clerk of the Court:

In follow-up to my Letter regarding incorrectly named parties, I am writing to ask that the following names
be deleted from the docket either due to accidental listing as a party -as outlined in my declaration ECF
#116 or due to incorrect spelling. We would appreciate if the online docketing team to make the following
corrections:

Delete – Remove From Docket:

 1.   Monique Moreno (incorrect spelling)

 2.   Mark Ayne (incorrect spelling)

 3.   Georgiann Gratsley (not a city worker – a hospital worker – accidently named)

 4.   Mark Whitsett (accidently named)

 5.   Sarah Wiesel (named twice)

 6.   Marvilyn Wallen (incorrect spelling)

Correct Spelling:

 1.   Change – Yulanda Smith to Yulonda Smith (change “a” to “o”)

 2.   Add middle initial “P” to Ayse Ustares



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  Respectfully Submitted,

  /s/ Jo Saint-George, Esq.
  Jo Saint-George, Esq.



cc:     Elisheva L. Rosen
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